  Case 1:99-mc-09999 Document 439-4 Filed 05/23/24 Page 1 of 1 PageID #: 58013




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


PFIZER INC., et al.                            )
                                               )
         v.                                    )   Civil Action No.
                                               )
APOTEX INC. and APOTEX CORP.
                                               )



               SUPPLEMENTAL INFORMATION FOR PATENT CASES
          INVOLVING AN ABBREVIATED NEW DRUG APPLICATION (ANDA)


          Plaintiff(s) hereby provide(s) the information below with respect to the deadlines set
  forth in 21 U.S.C. 355(j):


                                                   April 19, 2024
                 Date Patentee(s) Received Notice: ______________________

                                               See Below*
                 Date of Expiration of Patent: ________________________

                                             August 27, 2027**
                 Thirty Month Stay Deadline: ________________________

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      5/23/2024
  _____________                                                /s/ Megan E. Dellinger
                                                       _________________________________
        Date                                                 Attorney(s) for Plaintiff
